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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 06-20465

  v.
                                                            Honorable Nancy G. Edmunds
  GARY BALL, JR.,

              Defendant.
                                               /

           OPINION AND ORDER DENYING DEFENDANT'S MOTION FOR
       RECONSIDERATION [2883] OF THIS COURT'S MAY 25, 2017 ORDER [2881]

           Defendant Gary Ball moves for reconsideration of this Court's May 25, 2017 Order

  granting in part his motion for discovery, which was filed in connection with Defendant's 28

  U.S.C. § 2255 motion to vacate his sentence. For the reasons that follow, the Court

  DENIES Defendant's motion for reconsideration.1

  I.       Applicable Standard

           Pursuant to Rule 7.1(h) of the Local Rules for the Eastern District of Michigan, a party

  may file a motion for reconsideration within fourteen days after a court issues an order.

  Although a court has the discretion to grant such a motion, it generally will not grant one

  that "merely present[s] the same issues ruled upon by the court, either expressly or by

  reasonable implication." E.D. Mich. L. R. 7.1(h). To succeed on the motion, the movant

  "must not only demonstrate a palpable defect by which the court and the parties . . . have

  been misled but also show that correcting the defect will result in a different disposition of




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           The Court presumes familiarity with the underlying facts.
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  the case." Id. A "palpable defect" is "a defect that is obvious, clear, unmistakable,

  manifest, or plain." United States v. Lockett, 328 F. Supp. 2d 682, 684 (E.D. Mich. 2004).

  II.   Analysis

        Defendant asserts four grounds for reconsideration. He first argues that his discovery

  requests merit reconsideration because the factual background in the May 25 Order did not

  include various allegations related to his claim that Lawrence Shulman labored under a

  conflict of interest. (Dkt. 2883, at 2-5.) The Court disagrees for two reasons. First,

  Defendant has not shown that omitting these allegations constituted an obvious or

  unmistakable defect. The purpose of the Order's factual background was to provide

  context for Defendant's discovery requests, not to recount every allegation that might bear

  on his substantive § 2255 motion. The Court is aware of the relevant allegations and

  considered them before ruling on the requests related to Shulman's alleged conflict, many

  of which were granted. The Court will continue to address all relevant allegations, either

  expressly or by reasonable implication, when it rules on the substantive motion.

        Furthermore, even if omitting these allegations constituted a palpable defect,

  Defendant has not shown how correcting that defect would compel a different result. In

  fact, Defendant has not identified a single discovery request that he argues was incorrectly

  decided in connection with these allegations. Therefore, Defendant has failed to show that

  reconsideration is warranted on this ground.

        Defendant next challenges the Court's denial of discovery requests related to his

  claim that the Government committed prosecutorial misconduct by going to trial on Count

  Thirteen (conspiracy to murder), an argument that the Sixth Circuit expressly rejected on



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  direct appeal. United States v. Nagi, 541 F. App'x 556, 569 (6th Cir. 2013), writ of certiorari

  denied, 134 S.Ct. 1804. The May 25 Order concluded that there was no good cause for

  granting discovery requests related to this claim because the Court could not identify any

  "highly exceptional circumstances" for reconsidering the issue.            (Dkt. 2881, at 28.)

  Defendant argues that this conclusion "ignores the most extraordinary circumstance that

  the defense has had a chance to interview the witness, McDonald, to whom the allegation

  [underlying the conspiracy to murder charge] was attributed[,] and has been advised

  unequivocally that this witness never made any such claim and that the government entirely

  fabricated the matter." (Dkt. 2883, at 5-6.) Because this presents an issue already "ruled

  upon by the court, either expressly or by reasonable implication," the Court will not grant

  reconsideration on this basis. E.D. Mich. L. R. 7.1(h).

       Nonetheless, the Court will elaborate. On direct appeal, addressing Defendant's

  argument that "the prosecution committed misconduct by proceeding to trial against him

  on Count 13 conspiracy to commit the murder of Burnett and then dropping the charge prior

  to jury deliberations," the Sixth Circuit did not only determine that "[t]here is no indication

  [] that the government had an improper motive for proceeding in the way that it did." Nagi,

  541 F. App'x at 569. It also determined: "Further, the jury did not receive a copy of the

  indictment until the conclusion of the case, so it never knew that Ball faced the charge and,

  thus, could not have been prejudiced against Ball on that basis." Id. Given the breadth of

  this decision -- particularly the finding that the jury "could not have been prejudiced" -- it is

  not apparent how Defendant's allegation of prosecutorial misconduct, even if supported by

  discovery, would qualify as an "extraordinary circumstance" justifying the relitigation of this



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  issue. As a result, Defendant has not carried his burden of showing that he is entitled to

  discovery on the matter. See Thomas v. United States, 849 F.3d 669, 680 (6th Cir. 2017)

  (explaining that discovery in § 2255 proceedings is warranted only "where specific

  allegations before the court show reason to believe that the petitioner may, if the facts are

  fully developed, be able to demonstrate that he is confined illegally and is therefore entitled

  to relief").

        Third, Defendant contests this Court's conclusion that there was no good cause for

  granting discovery related to Defendant's claim that Benito Mendoza is "a corrupt law

  enforcement officer who acted against him in this case in order, among other reasons, to

  protect his own friends and associates[.]" (Dkt. 2881, at 28.) But Defendant never

  identifies a palpable defect by which the Court or the parties were misled. He only lodges

  a general complaint with the Court's characterization of his allegations and insists that his

  claims are based on "specific evidence," without citing to any such evidence. (Dkt. 2883,

  at 6.) Accordingly, Defendant is not entitled to reconsideration on this ground.

        The final alleged defect relates to Defendant's requests for discovery related to his

  allegation that the prosecution, in seeking a four-point leadership role increase in the

  sentencing guidelines, falsely represented that property referred to as the Eight Mile

  Clubhouse was used as a center for Defendant to distribute illegal drugs. (Id. at 7.)

  Defendant correctly points out that the May 25 Order, in footnote 16 on page 29, conflates

  the Detroit Clubhouse with the Eight Mile Clubhouse.            But he is incorrect that this

  constitutes grounds for reconsideration, as correcting this defect will not result in a different

  resolution of his requests.



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       The defect in footnote 16 did not serve as a basis for the Court's holding. The May

  25 Order concluded that Defendant had not demonstrated the materiality of his requests

  because he had "not articulated, let alone demonstrated, how he would be entitled to relief

  under § 2255 even if he could prove the truth of this allegation." (Dkt. 2881, at 29.)

  Defendant's failure to demonstrate the materiality of his requests survives the correction

  of the erroneous footnote. Therefore, reconsideration is not warranted on this ground.

       But again, the Court will elaborate. In his sentencing memorandum, Defendant

  objected to a leadership role related adjustment. (Dkt. 1761, at 7-9.) At the close of the

  sentencing hearing, the Court identified at least four reasons for concluding that Defendant

  served in a leadership role: (1) "he was in a leadership role in this club as president of the

  Eight Mile Chapter"; (2) "he was certainly in a leadership role and extremely active in the

  distribution of all kinds of controlled substances"; (3) he was in a leadership role "in

  facilitating the stolen property activity that went on for many years"; and (4) "[h]e was part

  of and in the leadership structure of . . . a motorcycle gang that wreaked havoc on the

  southwest side of Detroit for many, many years[.]" (Dkt. 1969, at 24.) The Court also noted

  during the hearing that Defendant was "one of the longest time, old-time members, an

  honorary member." (Id. at 14.) And when the Sixth Circuit affirmed Defendant's sentence

  on appeal, it held that this Court's conclusions at sentencing were "supported by the

  record." Nagi, 541 F. App'x at 576.

       Given that this Court identified other bases in the record for concluding that Defendant

  served in a leadership role, Defendant's allegation that the prosecution falsely represented

  during sentencing how Defendant used the Eight Mile property does not give the Court



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  "reason to believe that [Defendant] may, if the facts are fully developed, be able to

  demonstrate that he is confined illegally and is therefore entitled to relief." Thomas, 849

  F.3d at 680. Accordingly, Defendant remains unentitled to discovery on this issue.

  III.   Conclusion

         For the foregoing reasons, Defendant's motion for reconsideration is DENIED.

  Furthermore, the Court amends its May 25 Order to strike footnote 16 on page 29, as well

  as to reflect the elaborations herein.

         SO ORDERED.

                       S/Nancy G. Edmunds
                       Nancy G. Edmunds
                       United States District Judge

  Dated: June 29, 2017

  I hereby certify that a copy of the foregoing document was served upon counsel of
  record on June 29, 2017, by electronic and/or ordinary mail.

                       S/Carol J. Bethel
                       Case Manager




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